Case 2:03-cv-02517-SHI\/|-dkv Document 40 Filed 04/21/05 Page 1 of 2 Page|D 47

UNITED sTATEs DISTRICT coURT FH-?-' ----%
wEsTERN DISTRICT oF TENNESSEE no _
wEsTERN DIVIsIoN 05.':>-.; R 21 &H :| J\.

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U.S
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JOHNNIE B. WILSON,

Plaintiff,
v. Cv. No. 03-2517-Ma
OVERNITE TRANSPORTATION COMPANY,

Defendant.

JUDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered

IT IS ORDERED AND ADJUDGED that this action is dismissed with
prejudice, in accordance with the Order of Dismissal, docketed
April 12, 2005. Each party shall bear its own costs and fees.

APPROVEDJ€ UU

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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with Hu|e 58 and/or 79{&) FHCP on § " 21 /0 S"

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Honorable Samuel Mays
US DISTRICT COURT

